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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


TEXANS FOR ISRAEL, et al.,

        Plaintiffs,

v.
                                                    Civil Action No. 2:24-CV-00167-Z
U.S. DEPARTMENT OF THE TREASURY,
et al.,

       Defendants.


                      DEFENDANTS’ MOTON TO TRANSFER VENUE

        Defendants respectfully move to transfer this case to the U.S. District Court for the District

of Columbia under 28 U.S.C. § 1404(a) and § 1406(a). The reasons for this Motion are set forth in

the Defendants’ Brief in Support of their Motion to Transfer Venue, filed separately. A proposed

order is filed concurrently herewith.

 Dated: October 15, 2024                            Respectfully Submitted,

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                                                    Principal Deputy Assistant Attorney General

                                                    ALEXANDER K. HAAS
                                                    Director

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